                                          Case 4:19-cv-07123-PJH Document 286 Filed 02/13/24 Page 1 of 2




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          WHATSAPP, INC., et al.             ,          Case No. 4:19-cv-07123-PJH
                                                        Plaintiff(s),
                                   5
                                                                                            APPLICATION FOR ADMISSION OF
                                                  v.                                        ATTORNEY PRO HAC VICE
                                   6
                                              NSO GROUP TECHNOLOGIES                        (CIVIL LOCAL RULE 11-3)
                                   7          LIMITED, et al.                    ,
                                                        Defendant(s).
                                   8

                                   9

                                  10          I, Marc J. Zwillinger           , an active member in good standing of the bar of

                                  11    District of Columbia                  , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: non-party Bill Marczak                 in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Sheri Pan                            , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     316136
                                       within the State of California. Local co-counsel’s bar number is: _________________.

                                  16   ZwillGen PLLC                                        ZwillGen Law LLP
                                       1900 M Street NW, Suite 250, Washington, DC 20036    369 Pine Street, Suite 506, San Francisco, CA 94104
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (202) 706-5202                                       (415) 590-2335
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       marc@zwillgen.com                                    sheri@zwillgen.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22          I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 451665                    .
                                  24          A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                  0
                                              I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:19-cv-07123-PJH Document 286 Filed 02/13/24 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: February 13, 2024                                      Marc J. Zwillinger
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Marc J. Zwillinger                                            is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                       Dated: February 13, 2024                                                           S DISTRICT
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE       Hamilto JUDGE
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                                       Updated 11/2021                                   2
